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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


 JEFFREY ROSE, VAN CARLUCCI, and                    Case No. 2:21-cv-20772 (JMV) (CLW)
 ART BARTOSIK and SIXTYSIX CAPITAL,
 LLC, Individually and On Behalf of All
 Others Similarly Situated,

                        Plaintiffs,

    vs.

 FERRARI NORTH AMERICA, INC.,
 FERRARI S.P.A., ROBERT BOSCH, LLC,
 and ROBERT BOSCH GMBH,

                        Defendants.


                           NOTICE OF VOLUNTARY DISMISSAL

          Plaintiffs Art Bartosik and SixtySix Capital, LLC, by and through undersigned counsel,

hereby give notice of their voluntary dismissal of their claims against Defendants, pursuant to

Federal Rule of Civil Procedure 41(a)(1)(A)(i). This dismissal is without prejudice.


 Dated: March 31, 2023                              Respectfully submitted:

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